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LitigationID HouseN StreetName      Zip   CaseType                     CaseOpenDate      Respondent
      341405    102 WEST 138 STREET 10030 False Certification Non‐Lead 11/15/2018 0:00   ABJ LENOX LLC,JOSEPH SOLEIMANI
      358105    526 WEST 173 STREET 10032 Comprehensive                 7/19/2019 0:00   173 HEIGHTS LLC,JOSEPH SOLEIMANI
      358107    506 WEST 173 STREET 10032 Comprehensive                 7/18/2019 0:00   173 HEIGHTS LLC,JOSEPH SOLEIMANI
      358106    524 WEST 173 STREET 10032 Comprehensive                 7/19/2019 0:00   173 HEIGHTS LLC,JOSEPH SOLEIMANI
      354050    169 EAST 105 STREET 10029 False Certification Non‐Lead  8/20/2019 0:00   ABJ 105, LLC.,JOSEPH SOLEIMANI
      358070    169 EAST 105 STREET 10029 False Certification Non‐Lead   9/4/2019 0:00   ABJ 105, LLC.,JOSEPH SOLEIMANI
      355934   2601 MARION AVENUE 10458 False Certification Non‐Lead    1/13/2020 0:00   JOSEPH SOLEIMANI,SCG 311, LLC.

               Source: https://data.cityofnewyork.us/Housing‐Development/Housing‐Litigations/59kj‐x8nc/data
